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            IN THE IOWA DISTRICT COURT IN AND FOR LINN COUNTY

                                                *
NICHOLAS THOMSON,                               *             Case No. _____________
                                                *
       Plaintiff,                               *
                                                *
v.                                              *
                                                *             PETITION AT LAW
INTERNATIONAL PAPER CO.                         *             AND JURY DEMAND
and LEON HOSPODARSKY,                           *
Individually and in his                         *
Corporate Capacities,                           *
                                                *
       Defendants.                              *
                                                *

       COMES NOW the Plaintiff, Nicholas Thomson, by and through his undersigned counsel,

and for his cause of action against Defendants International Paper Co. and Leon Hospodarsky,

Individually and in his Corporate Capacities, states as follows:

                            PARTIES, VENUE & JURISDICTION

       1.      Plaintiff Nicholas Thomson is and was at all times material hereto a citizen and

resident of Cedar County, Iowa.

       2.      Defendant International Paper Co. is a New York corporation with its home office

in Memphis, Tennessee, and is authorized to do business in the State of Iowa.

       3.      At all times material hereto, Defendant International Paper Co. owned and operated

the International Paper Cedar River Mill facility in Cedar Rapids, Linn County, Iowa.

       4.      Upon information and belief, Defendant Leon Hospodarsky is and was at all times

material hereto a citizen and resident of Linn County, Iowa, who worked at International Paper’s

Cedar Rapids, Iowa facility.




                                                                                         EXHIBIT
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          5.    At all times material hereto, Defendant Leon Hospodarsky was a supervisory or

managerial employee of Defendant International Paper Co. who personally participated in the

unlawful actions described herein.

          6.    The unlawful actions described herein occurred in Cedar Rapids, Linn County,

Iowa.

          7.    The amount in controversy exceeds the jurisdictional requirements of the Iowa

District Court in and for Linn County.

                                   CONDITIONS PRECEDENT

          8.    Within 300 days of the date of the last act of discrimination, Plaintiff filed a charge

of disability discrimination against Defendants with the Iowa Civil Rights Commission, which was

cross-filed with the Equal Employment Opportunity Commission. A copy of said charge is

attached hereto as Exhibit A and its contents are incorporated as if fully set forth herein.

          9.    On January 28, 2020, the Iowa Civil Rights Commission issued an Administrative

Release (letter of right-to-sue) to Plaintiff, a copy of which is attached hereto as Exhibit B.

          10.   Plaintiff has complied with all conditions precedent to the filing of this cause of

action.

                        COUNT I: DISABILITY DISCRIMINATION
                       The Iowa Civil Rights Act, Iowa Code Chapter 216
                      Thomson v. International Paper Co. and Hospodarsky

          11.   Plaintiff repleads the allegations set forth above as if fully set forth herein.

          12.   Plaintiff Nicholas Thomson (“Thomson”) began employment with Defendant

International Paper Co. in Cedar Rapids, Iowa on approximately September 22, 2014.

          13.   Thomson was hired to work as a Core I Process Team Member.




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       14.     Thomson successfully progressed through five “levels” of the Core I Process Team

Member position by December 2016.

       15.     Thomson applied and was interviewed for a promotion to a Core 2 Process Team

Leader three times: in 2015, in 2016 or 2017, and in April 2019.

       16.     Only employees who meet the qualifications for the Core 2 Process Team Member

position are granted interviews.

       17.     Thomson met the qualifications for the Core 2 Process Team Member when he

applied and was interviewed for the position in 2015 and in 2016 or 2017.

       18.     Thomson met the qualifications for the Core 2 Process Team Member when he

applied and was interviewed for the position in April 2019.

       19.     At all times material hereto, Thomson’s direct supervisor was Defendant Leon

Hospodarsky (“Hospodarsky”).

       20.     As Thomson’s supervisor, Hospodarsky had the authority to direct Thomson’s job

duties and otherwise control Thomson’s work schedules and conditions of employment.

       21.     As Thomson’s supervisor, Hospodarsky had the authority to discipline Thomson as

needed.

       22.     Thomson was diagnosed with ulcerative colitis in 2007 and suffers from the

symptoms associated with this impairment to this day.

       23.     Ulcerative colitis is an inflammatory bowel disease that causes long-lasting

inflammation and ulcers in the digestive tract. It can be debilitating and sometimes lead to life-

threatening complications.

       24.     Ulcerative colitis is an impairment of the digestive system.




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          25.   Due to his ulcerative colitis, Thomson is substantially limited in the functioning of

his digestive system.

          26.   Thomson is an individual with a disability as defined in the Iowa Civil Rights Act,

Iowa Code Chapter 216.

          27.   Thomson requested reasonable accommodations for his disability in the form of

occasional time off of work because of his disability.

          28.   At all times material hereto, Hospodarsky knew of Thomson’s disability.

          29.   Hospodarsky repeatedly harassed Thomson about taking time off work for his

disability and accused Thomson of lying about the reason why he could not work when he missed

work due to his disability.

          30.   Hospodarsky also treated Thomson less favorably than Thomson’s co-workers by

subjecting Thomson to greater scrutiny and assigning Thomson extra job duties and less desirable

tasks.

          31.   Hospodarsky participated in the decision not to promote Thomson when Thomson

first applied and was interviewed for the Core 2 Process Team Member position in 2015.

          32.   Hospodarsky participated in the decision not to promote Thomson when Thomson

applied and was interviewed for the Core 2 Process Team Member position again in 2016 or 2017.

          33.   Hospodarsky participated in the decision not to promote Thomson when Thomson

again applied and was interviewed for the Core 2 Process Team Member position in April 2019.

          34.   Thomson’s disability was discussed during the decision-making process for the

April 2019 promotion for which Thomson applied and was interviewed.

          35.   Thomson’s disability was a factor in the decision not to promote Thomson in 2019.




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       36.     Thomson’s disability was also a factor in the decision not to promote Thomson the

prior two times he had applied and interviewed for the promotion.

       37.     Defendants are “persons” as defined by the Iowa Civil Rights Act, Iowa Code

Chapter 216.

       38.     Defendants discriminated against Thomson in violation of the Iowa Civil Rights

Act by failing to promote Thomson because he has a disability.

       39.     Defendants violated the Iowa Civil Rights Act by retaliating against him for

requesting reasonable accommodations for his disability.

       40.     Defendants discriminated against Thomson in violation of the Iowa Civil Rights

Act by treating Thomson less favorably than his coworkers because of his disability.

       41.     Defendants constructively discharged Thomson because of his disability in

violation of the Iowa Civil Rights Act.

       42.     As a proximate cause of Defendants’ illegal actions, Thomson has been damaged.

       WHEREFORE the Plaintiff, Nicholas Thomson, respectfully prays that this Court enter

judgment against Defendants International Paper Co. and Leon Hospodarsky, Individually and in

his Corporate Capacities, and award damages, including damages for emotional distress, mental

anguish, compensatory relief, reasonable attorney fees, court costs, with interest as provided by

law, and such other and further relief as the Court deems just and equitable.

                       COUNT II: DISABILITY DISCRIMINATION
                      The Americans with Disabilities Act, As Amended
                                 42 U.S.C. § 12101 et seq.
                            Thomson v. International Paper Co.

       43.     Thomson repleads the allegations set forth above as if fully set forth herein.

       44.     Thomson is an individual with a disability as defined in the Americans with

Disabilities Act, As Amended (“ADAAA”).

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       45.     International Paper Co. is an employer as defined in the ADAAA.

       46.     Defendant discriminated against Thomson in violation of the ADAAA by failing

to promote Thomson because of his disability.

       47.     Defendant violated the ADAAA by retaliating against Thomson for requesting

reasonable accommodations for his disability.

       48.     Defendants discriminated against Thomson in violation of the ADAAA by treating

Thomson less favorably than his coworkers because of his disability.

       49.     Defendants constructively discharged Thomson because of his disability in

violation of the ADAAA.

       50.     As a proximate cause of Defendant’s illegal actions, Thomson has been damaged.

       WHEREFORE the Plaintiff, Nicholas Thomson, respectfully prays that this Court enter

judgment against the Defendant International Paper Co. and award damages, including damages

for emotional distress, mental anguish, compensatory relief, punitive damages, reasonable attorney

fees, court costs, with interest as provided by law, and such other and further relief as the Court

deems just and equitable.

                             COUNT III: RETALIATION
             Family and Medical Leave Act (“FMLA”), 29 U.S.C. § 2601 et seq.
                   Thomson v. International Paper Co. and Hospodarsky

       51.     Thomson repleads the allegations set forth above as if fully set forth herein.

       52.     Defendants are employers within the meaning of the FMLA.

       53.     Thomson qualified for FMLA leave during his employment with Defendants.

       54.     Thomson applied and was approved for intermittent FMLA leave during his

employment with Defendants.




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       55.     Thomson notified Hospodarsky, his supervisor, of his need for intermittent FMLA

leave as the need arose.

       56.     Defendants retaliated against Thomson for taking FMLA leave by harassing him

about taking time off and falsely accusing Thomson of lying about his need for FMLA leave.

       57.     Defendants retaliated against Thomson for taking FMLA leave by treating him less

favorably than his coworkers because he had taken FMLA leave.

       58.     Defendants retaliated against Thomson by failing to promote him because he had

taken FMLA leave.

       59.     Defendants unlawfully retaliated against Thomson because he exercised his rights

under the FMLA.

       60.     Defendants constructively discharged Thomson in violation of the FMLA.

       61.     As a result of Defendants’ conduct, Thomson has been damaged.

       WHEREFORE the Plaintiff, Nicholas Thomson, respectfully prays that this Court enter

judgment against Defendants International Paper Co. and Leon Hospodarsky, Individually and in

his Corporate Capacities, and award damages for lost wages, lost benefits, liquidated damages,

reasonable attorney fees, court costs, with interest as provided by law, and such other and further

relief as the Court deems just and equitable.

                               COUNT IV: DEFAMATION
                     Thomson v. International Paper Co. and Hospodarsky

       62.     Thomson repleads the allegations set forth above as if fully set forth herein.

       63.     Hospodarsky made statements to others that Thomson had lied about his disability

being the reason why he missed work on at least one occasion.

       64.     Hospodarsky’s allegations that Thomson was a liar had a natural tendency to injure

Thomson’s reputation and to expose Thomson to public hatred, contempt or ridicule.

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       65.     Hospodarsky’s statements that Thomson was a liar constituted defamation per se.

       66.     Hospodarsky’s statements that Thomson was lying about missing work due to his

disability were made with knowledge of falsity or reckless disregard for the truth.

       67.     Hospodarsky had supervisory responsibility over Thomson.

       68.     Hospodarsky made these defamatory statements about Thomson in the scope of his

employment as Thomson’s supervisor.

       69.     Hospodarsky’s defamatory statements were a factor in Defendants’ decision not to

promote Thomson.

       70.     As a proximate cause of Defendants’ actions, Thomson has been damaged.

Specifically, Thomson has suffered damage to his reputation, emotional distress, humiliation,

embarrassment, and financial losses.

       WHEREFORE the Plaintiff, Nicholas Thomson, respectfully prays that this Court enter

judgment against Defendants International Paper Co. and Leon Hospodarsky, Individually and in

his Corporate Capacities, and award damages, including damages for emotional distress, mental

anguish, compensatory relief, punitive damages, reasonable attorney fees, court costs, with interest

as provided by law, and such other and further relief as the Court deems just and equitable.

                                            JURY DEMAND

       71.     Thomson hereby requests trial by jury in this matter.



                                              Respectfully Submitted,

                                              By: /s/ Melissa C. Hasso
                                              Melissa C. Hasso AT0009833
                                              By: /s/ Emily E. Wilson
                                              Emily E. Wilson AT0013860
                                              SHERINIAN & HASSO LAW FIRM



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                                 521 E. Locust Street, Suite 300
                                 Des Moines, IA 50309
                                 Telephone: (515) 224-2079
                                 Facsimile: (515) 224-2321
                                 Email: mhasso@sherinianlaw.com
                                        ewilson@sherinianlaw.com
                                 ATTORNEYS FOR PLAINTIFF




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